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                                                                  EXHIBIT A
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Entity:                                       Colonial Life & Accident Insurance Company
                                              Entity ID Number 0126382
Entity Served:                                Colonial Life & Accident Insurance Company
Title of Action:                              Benjamin Pooler vs. Colonial Life & Accident Insurance Company
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Lafayette Parish District Court, LA
Case/Reference No:                            C-20221331-J
Jurisdiction Served:                          Louisiana
Date Served on CSC:                           04/06/2022
Answer or Appearance Due:                     21 Days
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